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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                       :    Crim. No. 3:16CR220 (AWT)
                                                :
        v.                                      :
                                                :
 DAVID DEMOS                                    :    November 27, 2017

               MOTION TO MODIFY MODIFIED SCHEDULING ORDER

       The Government respectfully moves the Court to modify the February 1, 2017

Scheduling Order [Dkt. #29] to extend the deadline for its witness and exhibit lists by two weeks,

from December 1, 2017 to December 15, 2017.

       Both counsel for the Government have been preparing for and trying a securities fraud

case before Judge Bryant that began on November 13, 2017. See United States v. Kosinski,

3:16CR148 (VLB). That trial has taken longer than expected, with closing arguments held this

morning. Accordingly, the Government requests an additional two weeks to prepare its witness

and exhibit lists, which would still be more than four months before jury selection in this case.

       While the defendant objects to the requested extension, if the Court grants this motion,

we assume he will seek the same extension for his witness and exhibit lists, to which the

Government would have no objection.
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                               Respectfully submitted,

                               JOHN H. DURHAM
                               UNITED STATES ATTORNEY

                                          /s/
                               JONATHAN N. FRANCIS
                               ASSISTANT UNITED STATES ATTORNEY
                               Federal Bar No. phv05083
                               jonathan.francis@usdoj.gov
                               HEATHER L. CHERRY
                               ASSISTANT UNITED STATES ATTORNEY
                               Federal Bar No. phv07037
                               heather.cherry@usdoj.gov
                               157 Church Street, 25th Floor
                               New Haven, CT 06510
                               Tel.: (203) 821-3700




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 27, 2017, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

System.



                                                           /s/
                                                    JONATHAN N. FRANCIS
                                                    ASSISTANT UNITED STATES ATTORNEY




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